Case 3:16-cV-00205-HES-PDB Document 40 Filed 06/15/18 Page 1 of 1 Page|D 443

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

JACKSONV!LLE DIVISION
TAURICE RICKS,
Plaintiff,
v. Case No. 3:16-cv-205-J-20PDB
ALLIED INTERSTATE, LLC and
SYNCHRONY FINANCIAL,
Defendants.

0 R D E R
This matter is before this Court on the parties “Joint Stipulation of Dismissal with
Prejudice” (Dkt. 39).
Accordingly, it is so ORDERED:

l. Pursuant to Fed. R. Civ. P. 4l(a)(l)(A)(ii), the parties “Joint Stipulation of Dismissal
with Prejudice” (Dkt. 39) is GRANTED and this action is dismissed with prejudice; and

2. The Clerk is directed to terminate all pending motions and CLOSE this case.

DoNE AND 0RDERED at Jacksonville, Florida, this 134/day of June, 2018.

    

ED S 'ATES DISTRICT JUDGE

Copies to:

Frank I-I. Kemey , III, Esq. z
Patrick G. Broderick, Esq.

John Aaron Wirthlin, Esq.

Jessica B. Reyes, Esq.

Siobhan Grant, Esq.

